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                                                                                             oo,l  gr*'
                                                                                              file',,lPng
                   IN    THE T'NITED STATES DISTRICT COURT
                              SOUTHERN DISTRTCT OF GEORGIA                            "".,;'  t0l5Jur-3
                                     DUBLIN DIVIgION


TINITED STATES OF AMERICA


         vs.                                            x         cR 3l_2-003-5


ANTONTO SMILEY




                                                  ORDER




         In        the        captioned       criminal          matter,         Defendant            Antonio

smi lev, s          motion          to      reduce      senlence          under         18     U.S.C.          S

3582(c) (2)              was denied         on January           28,    2015.          His    subsequent.

motion        for       reconsideration            was denied          on May 4,         2015.        smiley

simply        is        not    entj-tled     to    rel-ief      under     Amendment 782 of                the

United        States          Sentencinq          Guidefines       because he was sentenced

as a career               offender         under U.s.s.c.          S 481 .1(b) (2) .

         UndeEerred,               Smil-ey has         fil-ed     another        motion        t.o reduce

sentence.               arguing     lhat     because he was given                     a Section        5K1 .1

reduct.ion          based upon substantial-                   assj-stance        aL sentencing,               he

is    somehow entitl-ed                    Uo a     reducEion           novt.     He states           that.

because he provided                      substangial         assislance,         it     "places       him in

a    different                category       of    other        offenders        that        are career

criminal-s          but did        not provide         substantial          assistance.          "      (Doc.

No. 846, at 3.)                   The only        faw t.hat. Smiley cites                in    support        of
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this      erroneous           proposition            is          Amendment 780 to             lhe        United

states     sentencing               Guidelines.

         A court       may modify           a sentence once it                   has been imposed if

the      sentence        was         "based        on        a     sentencing          range        tha!      has

subsequently            been lowered               by the sentencing                conmissj-on. "                18

u.s.c.      S 3s82(c) (2).                  Section          3582(c) (2) is            only     triggered,

however,        by     a n a m e n d m e n t .l i s t e d          in    U.S.S.G.        S 181.10(c) .

Amendment 780                 is     not     a      fisted          amendment in              U.S,S.G.             S

1Bl-.1-O(c) .           Consequently,               the           Amendment does              not.       enEitle

Smiley     to    a sentence               reduction.

         Smiley       misconstrues               the purpose             of Amendment 780.                   Upon

the    implementaLion                of    AmendmenE 750,                 which    revised           the     drug

quanlity        tables        for    offenses        involving            crack cocaine             and which

was made retroactive                     through     Amendment 759, the question                           arose

of whether        a defendant               who had received                a departure             befow the

mandatory         minimum             because           of        substantial           assistance            was

eligible        for     a reduction              under Amendment 750.                     Amendment 780

reflects        a policy            decision         of          E.he United      States        Sentencing

Commission            that      such       defendancs              are     eligible,           As        already

explained         to         smiley,        however,              these      amendments             apply         to

defendants            who have            been     sentenced             under    the    drug        quantity

tables.          Smiley            has     not..        He was            sentenced        as        a    career

offender.             Accordingly,               any         changes       to    the     drug        quant.ity

tables,     whether           tshey were accomplished                       Lhrough      Amendment 750
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or   782,       are                 not         applicabl-e                    to       Smiley.            Anendment            780 does

noLhing         to      change that                                resul-t.

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                                                               r raY     naf      an.t.rlt.   Ani-.\ni.!        Cmi   I a\/'s




motion      for          reconsideration                                     of      the denial            of   his     18 U.S.C.           S

 3582 (c) (2) motion                                 (doc.             no.     846) is        hereby        DBNTBD/,.)
                                                                                                                 /,/
        oRDER ENTEREDat Augusta,                                                    Georgia,        t:nis />,trday              of ,fune,

2015.




                                                                                         UNTTED S?A               DISTRTCT         .TUDGE
